

People v Martin (2025 NY Slip Op 02164)





People v Martin


2025 NY Slip Op 02164


Decided on April 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2025

Before: Kern, J.P., Gesmer, Mendez, O'Neill Levy, Michael, JJ. 


Ind No. 70265/23|Appeal No. 4118|Case No. 2023-05742|

[*1]The People of the State of New York, Respondent,
vMichael Martin, Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Bridget White of counsel), for respondent.



Judgment, Supreme Court, New York County (Maxwell Wiley, J.), rendered October 19, 2023, convicting defendant, upon his plea of guilty, of criminal contempt in the second degree, and sentencing him to time served, unanimously affirmed.
The court did not violate the multiple punishments prohibition of the Double Jeopardy Clause by issuing a final order of protection immediately after stating that the sentence was time served. An order of protection is not a "punishment" within the meaning of the Double Jeopardy Clause (see People v Nieves, 2 NY3d 310, 316 [2004]). Furthermore, the sentence had not yet been imposed, entered, and served when the court issued the order of protection, as there had not been a "formal break in the proceedings from which to logically and reasonably conclude that sentencing had finished" (see e.g. United States v Melvin, 105 F4th 620, 626 [4th Cir 2024]; United States v Ochoa, 809 F3d 453, 458-459 [9th Cir 2015]).
Defendant also argues that the order of protection was invalid because the court failed to state on the record its reasons for issuing the order of protection as required by CPL 530.13(4) (see Nieves, 2 NY3d at 315; People v Haskins, 231 AD3d 449 [1st Dept 2024]). He failed to preserve that claim and we decline to review it in the interest of justice. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2025








